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EXHIBIT B
                                                             Albert C. Black III, Receiver Civil Action No.: 6:23‐cv‐00321
                                                                        SEC v. Roy Hill, Eric Shelly, CETA, et al
                                                                         Cash on Hand ‐ December 31, 2023



                                                                                                                                       Disbursements for
                                                                                                                  Interest, Dividend       Business
   Account                                                                    Beginning      Business              Income/ Market        Operations or        Investor      Ending Balance
   Number          Bank                     Account Name                  Balance 09/30/23   Income                    Changes           Professionals      Distribution     12/31/2023
890000114227       Axos                  SEC V ROY HILL ST AL             $      33,373.22                                             $      (25,419.00)                  $      7,954.22
890000114235       Axos                       ROY W HILL                  $         460.62                                                                                 $        460.62
890000114243       Axos              CLEAN ENERGY TECH ASSO               $ 51,740,403.88                                              $      (45,181.46) $ (1,380,000.00) $ 50,315,222.42
890000114250       Axos                      ERIC N SHELLY                $ 4,252,052.90 $ 34,240.00                                                                       $ 4,286,292.90
890000118996       Axos        Estate of Fairfield Cemetery Association   $       3,320.05 $    450.00                                                                     $      3,770.05

  40406694         CNBT                    CETA Account                    $   2,050,697.37                                                                                $   2,050,697.37
  40028274         CNBT                    CETA Account                    $     346,761.94                                                                                $     346,761.94

861‐10747‐1‐0   Edward Jones          Fairfield Cemetery Assoc.            $      34,826.80                                                                                $     34,826.80

                                              Sub‐Total                    $ 58,461,896.78 $ 34,690.00 $                         ‐     $      (70,600.46) $ (1,380,000.00) $ 57,045,986.32

  3796‐1162     Wells Fargo                CETA Advisors                   $   8,563,107.97                   $          794,832.52                                        $   9,357,940.49
  3401‐4891     Wells Fargo                CETA Advisors                   $       2,520.20                                                                                $       2,520.20

                                                Total                      $ 67,027,524.95 $ 34,690.00 $                 794,832.52 $         (70,600.46) $ (1,380,000.00) $ 66,406,447.01
